                                    Case 4:24-cr-01983-JAS-LCK  Document
                                                           CRIMINAL      1 Filed 03/14/24 Page 1 of 2
                                                                    COMPLAINT

                      United States District Court                        DISTRICT of ARIZONA
                                   United States of America               DOCKET NO.

                                                    v.

                           CASEY JAMES PURINGTON                          MAGISTRATE'S CASE NO.
                           DOB: 1985; United Sates Citizen                                  24-07206MJ



             Complaint for violations of Title 18, United States Code §§ 115(a)(1)(B) and (b)(4), and 1503(a) and (b)
COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

COUNT 1: On or about March 11, 2024, in the District of Arizona, the defendant, CASEY JAMES PURINGTON,
did threaten to assault and murder Person A, a United States judge, with intent to impede, intimidate, and interfere
with such judge while engaged in the performance of official duties, and with intent to retaliate against such judge
on account of the performance of official duties. All in violation of Title 18, United States Code, Sections
115(a)(1)(B) and (b)(4).

COUNT 2: On or about March 7, 2024, in the District of Arizona, the defendant, CASEY JAMES PURINGTON,
did corruptly, and by threats and any threatening communication, influence, obstruct, and impede, and endeavor to
influence, obstruct, and impede, the due administration of justice. All in violation of Title 18, United States Code,
Section 1503(a) and (b).


BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

The defendant, CASEY JAMES PURINGTON, was a plaintiff in a civil suit. The assigned United States District
Judge (Person A) granted the civil defendant’s motion for summary judgment in December 2020, effectively ending
the case.

On February 7, 2024, PURINGTON contacted Person A, via email regarding the civil case. The email was sent
from cpurington1@gmail.com to Person A’s Chambers and reads in part:

                              I will NEVER walk away from this, and you can hate me all you want [Person A] , but
                              it will never add up to how much I hate you. This is obvious what happened, and now we

…… CONTINUED ON NEXT PAGE ……..
MATERIAL WITNESS(ES) IN RELATION TO THE CHARGE:


DETENTION REQUESTED                                                       SIGNATURE OF COMPLAINANT

Being duly sworn, I declare that the foregoing is
true and correct to the best of my knowledge.                             OFFICIAL TITLE & NAME:
                                                                          Deputy U.S. Marshal (DUSM) Vladimir St. Louis
Subscribed to and sworn before me telephonically.
SIGNATURE OF MAGISTRATE JUDGE1)                                           DATE
                                                                          March 14, 2024
1)
     See Federal rules of Criminal Procedure Rules 3 and 54
Reviewing AUSA Sarah B. Houston


 CC: USM, AUSA, PTS
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       are at a meme war crossroads, so get ready, you thought Trump was bad... So much for your
       democracy and jurisprudence.

On February 10, 2024, PURINGTON sent the following email to Person A’s Chambers:

       Gotcha Bitch! Are you having fun yet? I know it wasn't for me, but now that I've lost everything,
       I can watch you lose everything...

       Hope you have fun on this journey I'm about to take you on, you dumb cunt.

       Ps.


       Your bestie
       Casey

PURINGTON has repeatedly contacted Person A. PURINGTON uses the same phone number and email in all of
these communications. To date, records indicate PURINGTON has made approximately 300 phone calls to the U.S.
Courthouse and sent approximately 89 emails to Person A.

On March 7, 2024, PURINGTON called The Office of Phoenix Mayor Kate Gallego and spoke with an employee.
PURINGTON made threats directed at Person A claiming that he was going to “hit her knees with a baseball bat.”

On March 11, 2024, PURINGTON contacted the Arizona Commission on Judicial Conduct telephonically. During
the call, PURINGTON referred to Person A and stated “I’ll hang that bitch right outside her building, and you can tell
her I said that. I’ll get justice myself.”
